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                                         February 16, 2023

Via ECF

The Honorable Sarah Netburn
Thurgood Marshall United States Courthouse
40 Foley Square, Room 430
New York, NY 10007

       Re:     In re Terrorist Attacks on September 11, 2001, 03-md-1570 (GBD) (SN)

Dear Judge Netburn:

        I write on behalf of Defendant Kingdom of Saudi Arabia (“Saudi Arabia”) to request that
the Court set a schedule to brief a renewed motion to dismiss for lack of jurisdiction under the
Foreign Sovereign Immunities Act of 1976, together with related Daubert motions, and address
related matters such as page limits and confidentiality review. Defendant Dallah Avco, which
intends to file a renewed motion to dismiss for lack of personal jurisdiction or in the alternative
for summary judgment, joins in this letter.

        On June 21, 2022, near the close of jurisdictional expert discovery, Saudi Arabia
requested that the Court set a schedule for its renewed motion to dismiss and for related Daubert
motions. See ECF No. 8131. The Court denied that request without prejudice on September 20,
2022, explaining that pending before the Court were Plaintiffs’ motions under Fed. R. Civ. P.
54(b) to revise the Court’s March 28, 2018 order. See ECF No. 8542. The Court stated that
Saudi Arabia could renew its scheduling request after the Court resolved those motions. Id. On
February 7, 2023, Judge Daniels denied Plaintiffs’ Rule 54(b) motions in their entirety. See ECF
No. 8862. Saudi Arabia now respectfully renews its request to set a schedule for its renewed
motion to dismiss and Daubert motions. Dallah Avco likewise requests a parallel schedule for
its motion to dismiss or for summary judgment.

        1.     Jurisdictional statement of facts and evidence. In early 2018, Saudi Arabia
sought discovery of Plaintiffs so that it could squarely confront their contentions in its renewed
motion to dismiss. The Court denied such discovery, but stated that it was “sensitive to the
concern that [Saudi Arabia] raised about a potential sandbag” and suggested that “in advance of
the motion to dismiss” Plaintiffs could file “a statement on this particular issue, say, findings of
fact à la Rule 56.1”; that is, “a statement with supporting documents that the Kingdom can
review and rely upon in making its motion.” ECF No. 4015, at 38:24-39:2, 39:8-17. Plaintiffs
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responded: “Your Honor, in theory it sounds fine.” Id. at 39:19; see also ECF No. 4237, at
33:24-34:4 (statement that Plaintiffs “were planning” to submit “a statement of facts and
evidence that [they] would be relying upon in support of jurisdiction[al] theories”). Plaintiffs
again referred to this proposed procedure in a June 3, 2021 letter seeking additional time to
submit their expert reports. See ECF No. 6847, at 5. They then stated that they were “amenable”
to providing “a statement of facts and evidence” at the time they “serv[ed] . . . their expert
reports, provided that they [we]re afforded until September 15, 2021 to provide those reports.”
Id. That proposal was not adopted. Ultimately, Plaintiffs served their reports on April 1, 2022.

        The procedure suggested by the Court and agreed to by Plaintiffs remains appropriate.
The Court should direct Plaintiffs to submit a jurisdictional statement of facts and evidence on
which they will rely in opposition to Saudi Arabia’s and Dallah Avco’s renewed motions to
dismiss. The Court should further direct that the statement be in the form contemplated by
Local Civil Rule 56.1 and be accompanied by all supporting documents and deposition excerpts
on which Plaintiffs will rely to prove the facts set forth in the statement. Saudi Arabia proposes
a date of April 6, 2023 for this submission, two months after the Court resolved Plaintiffs’
Rule 54 motions.

        2.      Briefing schedule for renewed motion to dismiss. Saudi Arabia proposes the
following briefing schedule for its renewed motion to dismiss. Saudi Arabia’s renewed motion
to dismiss should be due June 5, 2023, 60 days after receiving Plaintiffs’ jurisdictional statement
of facts and evidence. Along with its renewed motion to dismiss, Saudi Arabia will file a
response to Plaintiffs’ jurisdictional statement of facts and evidence in the form contemplated by
Local Civil Rule 56.1, and also Saudi Arabia’s own statement of facts and evidence in such
form, along with all supporting documents and deposition excerpts on which Saudi Arabia will
rely to contest any fact set forth in Plaintiffs’ statement or prove any fact set forth in Saudi
Arabia’s statement. In addition, and together with its motion, Saudi Arabia will file a statement
or table concisely setting out all evidentiary objections to any document or deposition excerpt
Plaintiffs have submitted with their April 6 filing.

        Plaintiffs’ opposition to Saudi Arabia’s renewed motion to dismiss should be due 60 days
after the filing of the motion, on August 4, 2023. The Court should direct Plaintiffs to file with
their opposition a response to Saudi Arabia’s jurisdictional statement of facts and evidence in the
form contemplated by Local Civil Rule 56.1, along with all supporting documents on which
Plaintiffs will rely to contest any fact set forth in Saudi Arabia’s statement. In addition, and
together with their opposition, Plaintiffs should submit a statement or table concisely setting out
all evidentiary objections they raise to any document or deposition excerpt that Saudi Arabia has
submitted with its June 5 filing.

       Saudi Arabia’s reply in support of its motion to dismiss should be due September 5,
2023, 30 days after the filing of the opposition, plus two days because September 3 is a Sunday
and September 4 is Labor Day. Saudi Arabia will file with its reply a supplemental statement or
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table concisely setting out any evidentiary objections to any document or deposition excerpt
Plaintiffs have submitted (or proffered for a new purpose) with their August 4 filing.

         3.     Daubert-motion briefing schedule. Saudi Arabia anticipates filing motions to
limit or exclude the testimony of Plaintiffs’ expert witnesses. Plaintiffs indicated in a previous
letter that they intend to file such motions as to Saudi Arabia’s expert witnesses. See ECF No.
8157, at 4-5. Because the Court will be the finder of fact, it will be most efficient for such
motions to be filed and considered alongside Saudi Arabia’s renewed motion to dismiss. Saudi
Arabia proposes that motions by either side seeking to limit or exclude expert testimony should
be due with Saudi Arabia’s motion to dismiss; oppositions to any such motions be due with
Plaintiffs’ opposition to Saudi Arabia’s motion to dismiss; and replies in support of any such
motions be due with Saudi Arabia’s reply in support of its motion to dismiss.

        4.      Page limits. The size, importance, and complexity of this case, even at the
jurisdictional stage, warrant enlarged page limits for the briefing. Saudi Arabia proposes limits
of 50 pages for the memoranda in support of (and opposition to) the renewed motion to dismiss
and 25 pages for Saudi Arabia’s reply memorandum. For the Daubert motions, Saudi Arabia
proposes limits of 20 pages for each motion and opposition, and 10 pages for each reply.

        5.     Confidentiality review. It is likely that the parties’ submissions will include
material previously ordered sealed by the Court either at the request of Saudi Arabia, see ECF
No. 4696, or that of the FBI, see ECF No. 4255, or material substantially similar to previously
sealed material. Although the showing needed to seal such information in a dispositive motion is
higher than the showing needed for a discovery motion, see Lugosch v. Pyramid Co. of
Onondaga, 435 F.3d 110, 120-24 (2d Cir. 2006), Saudi Arabia (and, to the extent it deems
necessary, the FBI) should be allowed to review materials containing their confidential
information and to present arguments for continued sealing or for redactions. The complexity of
the review process will further be increased because, under Executive Order 14040, the FBI has
now released to the public much (but not all) of the material that had previously been sealed
under the FBI protective order. The FBI has requested that the parties provide proposed
redactions for FBI protected information on a rolling basis to allow sufficient time for its review.

        Any filings in connection with the renewed motion to dismiss that contain information
designated as confidential under the Court’s protective orders should be made under seal. Saudi
Arabia proposes that 30 days after each filing, the filing party provide to the FBI proposed
redactions for FBI confidentiality material, including any proposal that any filed document be
maintained under seal. Saudi Arabia similarly proposes to provide to the other parties and to the
FBI proposals for redacting and sealing documents that contain Saudi Arabia’s confidential
information 30 days after each filing. The FBI should also have at least 60 days after the final
filings in the sequence (that is, the replies) to respond to the parties’ redactions. The parties and
the FBI should then meet and confer, and advise the Court of any disputes, including providing a
proposal for briefing such disputes. Establishing a procedure with due dates at this juncture will
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help to ensure that the parties complete the redaction review process in a reasonably timely way.
The FBI has indicated that this proposal is acceptable.

        6.      Dallah Avco’s motion. Dallah Avco intends to file a renewed motion to dismiss
for lack of personal jurisdiction, and in the alternative, for summary judgment. Dallah Avco is
prepared to proceed on the same schedule as Saudi Arabia has proposed above, including with
respect to Rule 56.1 statements but requests 40 pages for its motion and Plaintiffs’ opposition,
and 20 pages for reply. Dallah Avco does not intend to file its own Daubert motions but expects
to join in Saudi Arabia’s motions as appropriate.

         7.     The meet-and-confer discussions and Plaintiffs’ position. Before submitting
this letter, Saudi Arabia made efforts to reach agreement among the parties on this proposal,
including a written proposal on February 7, 2023, and a meet-and-confer videoconference on
February 14. During that videoconference, Plaintiffs stated that they intend to seek a
certification for an interlocutory appeal of the Court’s February 7 order denying their Rule 54(b)
motions, and intend to ask the Court to defer Saudi Arabia’s renewed motion to dismiss and
Daubert briefing pending resolution of this request and any appeal that may follow.

       Saudi Arabia will oppose any request for an interlocutory appeal and will further oppose
any related effort to stay or otherwise delay proceedings in this Court. Jurisdictional fact
discovery was completed in June 2021, and jurisdictional expert discovery was substantially
completed in June 2022, with one deposition in July. It is time to present the results of that
discovery to the Court. Further, Plaintiffs have no reasonable prospect of meeting the “ ‘high
standard’ ” that courts in this District apply to requests for interlocutory appeals, which are “rare
and reserved for exceptional circumstances.” Hermès Int’l v. Rothschild, 590 F. Supp. 3d 647,
651 (S.D.N.Y. 2022) (quoting Prout v. Vladeck, 319 F. Supp. 3d 741, 746 (S.D.N.Y. 2018)).
Even if they were to obtain certification, no stay would be warranted because their appeal would
involve “only part of the case,” with no “threat[ ]” of “extensive duplication later on” or “loss of
the benefits of the appeal.” 16 C. Wright et al., Federal Practice and Procedure Juris. § 3929, at
469 (3d ed. 2012).

        Dallah Avco will also oppose any effort to stay or delay its motion pending any request
for certification or appeal. As explained in Dallah Avco’s letter of July 1, 2022 (ECF No. 8172),
Dallah Avco has now been in jurisdictional discovery for approximately ten years and has a
strong interest in prompt resolution of the claims against it. Moreover, the subject matter of the
February 7 order – which concerns the Court’s jurisdiction over, and Plaintiffs’ claims against,
Saudi Arabia as a foreign sovereign defendant – has nothing to do with Dallah Avco, a non-
sovereign entity.

        Plaintiffs further stated that they will ask the Court to defer briefing of motions to dismiss
until Daubert motions have been briefed and decided. Because the Court is acting as finder of
fact on jurisdictional issues, there is no danger of prejudice from expert evidence being presented
to the Court simultaneously with arguments that such evidence is unreliable and should be
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excluded. See, e.g., Republic of Turkey v. Christie’s Inc., 425 F. Supp. 3d 204, 220-21 (S.D.N.Y.
2019) (admitting expert testimony at bench trial subject to later Daubert ruling); Kortright Cap.
Partners LP v. Investcorp Inv. Advisers Ltd., 392 F. Supp. 3d 382, 397 (S.D.N.Y. 2019) (same).
This procedure will avoid the need for two separate rounds of briefing and judicial decisions, and
will give the Court added flexibility in determining whether Daubert rulings are unnecessary for
experts whose testimony may not matter to its ruling. It is also consistent with Plaintiffs’
contention in previous briefing that “[t]he Daubert issues are linked to the jurisdictional facts and
are best addressed together with the substantive matters.” ECF No. 8157, at 5.

        Finally, Plaintiffs stated that they will argue that 20 pages for each Daubert brief is
excessive. Saudi Arabia has long taken the position that expert testimony in the present
jurisdictional discovery is unnecessary and unlikely to be helpful to the Court. See ECF No.
5235, at 4; Ltr. from M. Kellogg to M.J. Netburn (filed under seal Nov. 13, 2019), at 4-5.
Nevertheless, Plaintiffs have served seven expert reports and, so far as Saudi Arabia is aware,
will proffer the testimony of all seven experts to the Court. Saudi Arabia should be given a
reasonable opportunity to present arguments that Plaintiffs’ expert testimony is unreliable and
should be excluded. Further, the Daubert inquiry requires discussion of each expert’s credentials
and methodology. That said, Saudi Arabia will attempt to economize and use fewer than 20
pages for experts whose testimony does not require extended discussion.

                                             Respectfully submitted,

                                              /s/ Michael K. Kellogg

                                              Michael K. Kellogg
                                              Counsel for the Kingdom of Saudi Arabia

cc:    All MDL Counsel of Record (via ECF)
